     Case 2:19-bk-16243-BR        Doc 178 Filed 08/29/19 Entered 08/29/19 13:51:55          Desc
                                    Main Document    Page 1 of 9




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 7

 8
                            UNITED STATES BANKRUPTCY COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
                                      LOS ANGELES DIVISION
11

12   In re:
                                                     Case No.: 2:19-bk-16243-BR
13
     Secured Capital Partners, LLC,
14                                                   CHAPTER 11

15                      Debtor.                      EVIDENTIARY OBJECTIONS TO THE
                                                     DECLARATION OF HAMID R.
16
                                                     RAFATJOO IN SUPPORT OF MOTION
17                                                   FOR ENTRY OF AN ORDER
                                                     RECONSIDERING AND VACATING
18                                                   THE ORDER DISMISSING THE
19
                                                     DEBTOR’S BANKRUPTCY CASE AND
                                                     DENIAL OF THE RAINES FELDMAN,
20                                                   LLP EMPLOYMENT APPLICATION
                                                     ORDER
21

22
                                                     Date: TBD
23                                                   Time: TBD
                                                     Place:  Courtroom 1668; Judge Russell
24
                                                             U.S. Bankruptcy Court
25                                                           255 E. Temple Street, 16th Floor
                                                             Los Angeles, CA 90012
26

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     Case 2:19-bk-16243-BR      Doc 178 Filed 08/29/19 Entered 08/29/19 13:51:55             Desc
                                  Main Document    Page 2 of 9




 1          Secured Capital Partners, LLC (“SCP”) by and through the Law Firm of Ronald
 2   Richards & Associates, APC, who appears for the limited purpose on this dismissed case
 3   of opposing this motion for reconsideration and for no other purpose, as only as an entity
 4   can appear through counsel, respectfully, hereby objects to the declaration of Hamid R.
 5   Rafatjoo (“Rafatjoo declaration”) in support of the motion for an order reconsidering and
 6   vacating the Court’s Order Dismissing Debtor’s Bankruptcy Case (the “Motion”) [Docket
 7   168] filed by the Official Committee of Unsecured Creditors (the “Committee”), by and
 8   through (and including) its proposed counsel, Raines Feldman, LLP (the “Firm”) as well
 9   as its Motion to reconsider the denial of the employment application. [Docket 154].
10          The paragraphs enumerated below are devoid of the detail normally expected in
11   competent, truthful testimony and, indeed, are nothing more than a reiteration of the
12   motion filed by the Firm. Since declarations are a form of evidence, they must comply
13   with all the rules of evidence. The Rafatjoo declaration does not comply with the rules of
14   evidence and therefore SCP objects to the same and these objections should be
15   respectfully sustained.
16       EVIDENTIARY OBJECTIONS TO THE DECLARATION OF HAMID R.
17                                          RAFATJOO
18          Declarations (1) must be based on personal knowledge, (2) set forth facts
19   admissible into evidence, and (3) show affirmatively that the affiant is competent to
20   testify regarding the matters stated in the affidavit. (United States v. Dibble 429 F.2d 598
21   (9th Cir. 1970).) “[M]ore is required from an affiant than mere hearsay and legal
22   conclusion.” (Doff v. Brunswick Corporation 372 F.2d 801, 804 (9th Cir. 1967), cert.
23   denied 389 U.S. 820 (1967).) Here, the Rafatjoo declaration is without probative value
24   and is replete with hearsay, lack of foundation, and legal conclusions and arguments.
25   SCP’s specific objections are as follows:
26      1. Rafatjoo Decl., 13:1-10. “In ruling on the Raines Feldman Employment
27          Application, the Court assumed that the Firm would be able to get paid outside of
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     Case 2:19-bk-16243-BR     Doc 178 Filed 08/29/19 Entered 08/29/19 13:51:55              Desc
                                 Main Document    Page 3 of 9




 1         the bankruptcy. Because the Firm represents the Committee, the Firm does not
 2         have an engagement agreement with the Debtor and its only means of getting paid
 3         is through the fee application process after its employment has been approved by
 4         the Court. Thus, with all due respect, the Court erred when it denied the approval
 5         of the Raines Feldman Employment Application—after acknowledging the quality
 6         of the services that had been rendered- based on the belief that the Firm would be
 7         able to seek payment outside of the bankruptcy process. That is simply not the
 8         case. The law and the facts do not support the Court’s ruling.”
 9            a. Objection: Fed. R. Evid. 401, 402, 403, 602, 901. The statement is
10                irrelevant, argumentative, speculative, lacks foundation, is not within the
11                declarant’s personal knowledge.
12      2. Rafatjoo Decl., 13:11-13. “The Court’s unwillingness to hear oral arguments on
13         the Raines Feldman Employment Application so that the above issues could be
14         addressed and the resulting ruling create manifest injustice.”
15            a. Objection: Fed. R. Evid. 602, 701, 901. Speculative. Conclusory, fails to
16                provide a basis in verifiable facts. The declarant’s asserted beliefs,
17                opinions and conclusions are not competent evidence.
18      3. Rafatjoo Decl., 14:2-9. “The Debtor’s estate—even without the Beverly Hills
19         Property—has sufficient assets to pay such fees and result in a material (if not full)
20         payment to the general unsecured creditors. If the Debtor’s actions before this
21         Court have been so vehement as to warrant dismissal of the case, why punish the
22         professionals and the general unsecured creditors? The failure to grant this Motion
23         and the Employment Reconsideration Motion will inure only to the benefit of the
24         Debtor—and will only serve to punish every single general unsecured creditor in
25         this case. There is no basis in law to support such an unjust result.”
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     Case 2:19-bk-16243-BR     Doc 178 Filed 08/29/19 Entered 08/29/19 13:51:55             Desc
                                 Main Document    Page 4 of 9




 1            a. Objections: Fed. R. Evid. 602, 701, 901. Speculative. Conclusory, fails to
 2                provide a basis in verifiable facts. The declarant’s asserted beliefs,
 3                opinions and conclusions are not competent evidence.
 4      4. Rafatjoo Decl., 14:10-12. “The Debtor’s schedules of assets and liabilities and
 5         amendments (collectively the “Schedules”) thereto provide prima facie evidence
 6         of the validity of the claims and insolvency of the Debtor.”
 7            a. Objection: Fed. R. Evid. 401, 402, 403, 602, 901. The statement is
 8                irrelevant, argumentative, speculative, lacks foundation, is not within the
 9                declarant’s personal knowledge.
10      5. Rafatjoo Decl., 15:6-12. “The Schedules provide sufficient evidence that the
11         Debtor has generally not been paying debts as they became due. The Schedules
12         identify certain debts as having been incurred years ago, which based on the type
13         of debt and the Court’s familiarity with the history of this case, demonstrate that
14         the Debtor has not been paying its debts as they become due. There was no
15         evidence or even allegation to the contrary (i.e., no party asserted that the Debtor
16         was or is paying its debts as they become due).”
17            a. Objection: Fed. R. Evid. 602, 701, 901. Speculative. Conclusory, fails to
18                provide a basis in verifiable facts. The declarant’s asserted beliefs,
19                opinions and conclusions are not competent evidence.
20      6. Rafatjoo Decl., 16:1-5. “The Schedules are admissions by the Debtor against its
21         interest. The Committee and the Firm believe that the foregoing constitutes
22         sufficient evidence for the Court—which, with all due respect, the Court may have
23         overlooked—to grant the Motion and the Employment Reconsideration Motion.”
24            b. Objection: Fed. R. Evid. 602, 701, 901. Speculative. Conclusory, fails to
25                provide a basis in verifiable facts. The declarant’s asserted beliefs,
26                opinions and conclusions are not competent evidence.
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     Case 2:19-bk-16243-BR      Doc 178 Filed 08/29/19 Entered 08/29/19 13:51:55             Desc
                                  Main Document    Page 5 of 9




 1      7. Rafatjoo Decl., 16:6-11. “If the Court does not grant the Motion and the
 2         Employment Reconsideration Motion, the Debtor will receive a tremendous
 3         windfall at the expense of the general unsecured trade creditors, the various
 4         professionals that provided services to the Debtor and TPP over the last few years,
 5         and the professionals that sought employment in the Debtor’s case. As a court of
 6         equity, this Court should not allow such a result. Why allow this to happen when
 7         the Court has the authority to reinstate this case and allow the general unsecured
 8         creditors to be paid?”
 9            a. Objection: Fed. R. Evid. 602, 701, 901. Speculative. Conclusory, fails to
10                provide a basis in verifiable facts. The declarant’s asserted beliefs,
11                opinions and conclusions are not competent evidence.
12      8. Rafatjoo Decl., 16:18-27. “The Committee and the Firm believe that the Court’s
13         ruling unjustifiably and unnecessarily damaged the general unsecured creditors
14         and the professionals. The Hughes Parties with their vast resources and properly
15         perfected secured liens have been involved in litigation with the Debtor (and its
16         predecessor) for over a decade in an attempt to get paid or foreclose on their
17         collateral. In ruling, the Court (with all due respect) failed to adequately consider
18         what the general unsecured creditors—who do not have the same financial
19         resources as the Hughes Parties or liens— are supposed to do to compel the
20         Debtor to pay their debt especially when the Debtor stands to lose its largest asset
21         to foreclosure and will not have the same perceived assets available to it to pay
22         claims. Absent oversight from this Court, the Debtor will unleash epic battles (or
23         engage in other shenanigans) in order to avoid paying the general unsecured
24         creditors.”
25            b. Objection: Fed. R. Evid. 401, 402, 403, 602, 901. The statement is
26                irrelevant, argumentative, speculative, lacks foundation, is not within the
27                declarant’s personal knowledge.
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     Case 2:19-bk-16243-BR     Doc 178 Filed 08/29/19 Entered 08/29/19 13:51:55            Desc
                                 Main Document    Page 6 of 9




 1      9. Rafatjoo Decl., 17:1-6. “Less severe remedies were and are available to the Court.
 2         The Court could have lifted the automatic stay to allow the Hughes Parties to
 3         foreclose while maintaining the bankruptcy case. The Court could have appointed
 4         a chapter 11 trustee. It appears the Court did not properly weigh (or appreciate) the
 5         detriment to creditors of the Debtor (other than the Hughes Parties) when deciding
 6         to dismiss the case rather than determining a less severe option under §1112(b)
 7         was warranted.”
 8            c. Objection: Fed. R. Evid. 401, 402, 403, 602, 901. The statement is
 9                irrelevant, argumentative, speculative, lacks foundation, is not within the
10                declarant’s personal knowledge.
11

12   WHEREFORE SCP respectfully requests that its evidentiary objections be sustained.
13

14

15                                            Respectfully submitted,
16

17                                            LAW OFFICE OF RONALD RICHARDS &
18                                            ASSOCIATES, A.P.C.
19                                              /s/ Morani Stelmach
20   Dated: August 29, 2019           By:     _____________________________________
21                                                   Morani Stelmach, Esq.
22                                              Attorneys for Secured Capital Partners, LLC
23

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     Case 2:19-bk-16243-BR        Doc 178 Filed 08/29/19 Entered 08/29/19 13:51:55              Desc
                                    Main Document    Page 7 of 9




                               PROOF OF SERVICE OF DOCUMENT
 1

 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
     business address is:
 3
     LAW OFFICES OF RONALD RICHARDS & ASSOCIATES, APC
 4
     PO BOX 11480, Beverly Hills, CA 90213
 5
     A true and correct copy of the foregoing document entitled (specify):
 6

 7
     EVIDENTIARY OBJECTIONS TO THE DECLARATION OF HAMID R. RAFATJOO
     IN SUPPORT OF MOTION FOR ENTRY OF AN ORDER RECONSIDERING AND
 8   VACATING THE ORDER DISMISSING THE DEBTOR’S BANKRUPTCY CASE AND
     DENIAL OF THE RAINES FELDMAN, LLP EMPLOYMENT APPLICATION ORDER
 9

10
     will be served or was served (a) on the judge in chambers in the form and manner required by
11   LBR 5005-2(d); and (b) in the manner stated below:
12
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
13   Pursuant to controlling General Orders and LBR, the foregoing document will be served by the
     court via NEF and hyperlink to the document. On 8-29-19, I checked the CM/ECF docket for
14   this bankruptcy case or adversary proceeding and determined that the following persons are on
     the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
15

16    Eric Bensamochan on behalf of Interested Party Courtesy NEF
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17

18   Michael E Bubman on behalf of Interested Party Courtesy NEF
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19

20   David B Golubchik on behalf of Interested Party Courtesy NEF
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21

22   Allan Herzlich on behalf of Interested Party Freeman, Freeman & Smiley, LLP
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27   6765@ecf.pacerpro.com
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     Case 2:19-bk-16243-BR    Doc 178 Filed 08/29/19 Entered 08/29/19 13:51:55      Desc
                                Main Document    Page 8 of 9




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 5
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 7
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 8   bmarum@sheppardmullin.com, egarcia@sheppardmullin.com
 9
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13
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14   Creditors
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15

16   Justin E Rawlins on behalf of Creditor Hughes Investment Partnership LLC
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20
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21

22
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23

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27   agonzalez@sulmeyerlaw.com;agonzalez@ecf.inforuptcy.com;asokolowski@sulmeyerla
     w.com;vsahn@ecf.inforuptcy.com
28

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     Case 2:19-bk-16243-BR        Doc 178 Filed 08/29/19 Entered 08/29/19 13:51:55                Desc
                                    Main Document    Page 9 of 9




 1
     Steven A. Sokol on behalf of Interested Party Courtesy NEF
 2   sokolesq@gmail.com, sokolesq@earthlink.net
 3
     United States Trustee (LA)
 4   ustpregion16.la.ecf@usdoj.gov
 5

 6   2. SERVED BY UNITED STATES MAIL:
     On, I served the following persons and/or entities at the last known addresses in this bankruptcy
 7   case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in
     the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge
 8
     here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
 9   after the document is filed.

10

11
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
12   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
     F.R.Civ.P. 5 and/or controlling LBR, on , I served the following persons and/or entities by
13   personal delivery, overnight mail service, or (for those who consented in writing to such service
     method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
14
     declaration that personal delivery on, or overnight mail to, the judge will be completed no later
15   than 24 hours after the document is filed.

16

17

18   I declare under penalty of perjury under the laws of the United States of America that the
     foregoing is true and correct.
19

20
     August 29, 2019                                                     /s Morani Stelmach, Esq.
21                                                                       Morani Stelmach, Esq.
22

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